              Case 2:21-cv-03980-CDJ Document 1 Filed 09/07/21 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
JOANNE BAYER                           :
1417 Locust Street                     :
Norristown, PA 19401                   :    CIVIL ACTION
                                       :
              Plaintiff,               :    No. ______________
       v.                              :
                                       :
CHARLES RIVER LABORATORIES             :
INTERNATIONAL, INC., d/b/a             :    JURY TRIAL DEMANDED
CHARLES RIVER LABORATORIES             :
251 Ballardvale Street                 :
Wilmington, MA 01887                   :
                                       :
              Defendant.               :
____________________________________:

                                      CIVIL ACTION COMPLAINT

         Plaintiff, by and through her undersigned counsel, hereby avers as follows:

                                               INTRODUCTION

         1.       This action has been initiated by Joanne Bayer (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) against Charles River Laboratories International, Inc., d/b/a

Charles River Laboratories (hereinafter referred to as “Defendant”) for violations of the

Americans with Disabilities Act ("ADA" - 42 USC §§ 12101 et. seq.) and the Pennsylvania Human

Relations Act (“PHRA”).1 As a direct consequence of Defendant's unlawful actions, Plaintiff seeks

damages as set forth herein.




1
  Plaintiff’s claim under the PHRA is referenced herein for notice purposes. She is required to wait 1 full year before
initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in advance of same
because of the date of issuance of her federal right-to-sue letter under the ADA. Plaintiff’s PHRA claims however
will mirror identically her federal claims under the ADA.
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                                   JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a) (4) because it arises under the laws of the United States and

seeks redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff's

state-law claims because they arise out of the same common nucleus of operative facts as Plaintiff's

federal claims asserted herein.

        3.       This Court may properly maintain personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. §§ 1391(b)(1) and (b)(2), venue is properly laid in this district

because all of the acts and/or omissions giving rise to the claims set forth herein occurred in this

judicial district, and Defendant is deemed to reside where it is subject to personal jurisdiction,

rendering Defendant a resident of the Eastern District of Pennsylvania.

                                               PARTIES

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult individual, with an address as set forth in the caption.

        7.       Charles River Laboratories International, Inc. (“Defendant”) is an American

pharmaceutical company specializing in a variety of preclinical and clinical laboratory, gene

therapy and cell therapy services for the pharmaceutical, medical device and biotechnology

industries.




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        8.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                    FACTUAL BACKGROUND

        9.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        10.      Plaintiff was hired by Defendant effective on or about May 30, 2018; and in total,

Plaintiff was employed with Defendant for approximately 3 years.

        11.      Plaintiff worked under various job titles such as TA Specialist, HR Analyst,

Reporting Analyst and other iterations of such roles / names as utilized by Defendant.

        12.      Plaintiff reported directly to Joseph Rappaport (Sr. HR Analyst and Data Analytics

Manager). And Plaintiff indirectly reported to Victoria Creamer (Chief People Officer) and James

Foster (Chief Executive Officer).

        13.      At all relevant times during Plaintiff’s employment and as to claims underlying this

lawsuit, Plaintiff was managed daily primarily by Rappaport.

        14.      Plaintiff worked for Defendant (headquartered in Massachusetts) in Pennsylvania

(and in particular, within Montgomery County). Plaintiff worked remotely from her residence as

a telecommuting employee, and she also reported to Defendant’s Horsham, Pennsylvania office(s).

Thus, Plaintiff was an Eastern-Pennsylvania based employee for Defendant.

        15.      The sole rationale Plaintiff was given by Defendant’s management for her

termination was that of “job elimination.” Plaintiff was not informed of any other reason for her

termination, such as misconduct, performance, or other bases.




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        16.      Plaintiff was terminated effective on or about May 14, 2021, and she was not given

any advance notice of an impending or potential termination.

        17.      Although Defendant claimed Plaintiff’s job was “eliminated,” Plaintiff’s

termination was solely motivated by discrimination on account of Plaintiff’s health, as well as

retaliation for her concerns of discriminatory treatment.

        18.      Plaintiff suffered from Anxiety, Depression, and other general health

complications, which was known to Defendant’s management.

        19.      Plaintiff’s termination reeks of pretext as follows:

                 (1) Plaintiff’s immediate manager, Rappaport, was making numerous
                     discriminatory comments to Plaintiff about her health leading up to Plaintiff’s
                     termination. Such comments included him telling Plaintiff she was not a good
                     fit in relation to her health, Plaintiff seemed to be in a “dark place” due to
                     what she was going through, Defendant needs someone in Plaintiff’s role who
                     has more energy, and Plaintiff’s mental state didn’t appear to be doing well.
                     These direct discriminatory comments were being made on a continual basis
                     (and other variations of such commentary).

                 (2)   Rappaport was suggesting or asking Plaintiff to quit or resign before her job
                       was allegedly eliminated.

                 (3)   Plaintiff was upon information and belief the only employee nationwide
                       subject to a reduction in force or job elimination at the same time in which
                       she was allegedly terminated for business reasons.

                 (4)   Plaintiff performed duties and a role that still needed to be performed even
                       post-termination, and Plaintiff could have been transitioned to any number of
                       roles that Defendant often hired for or created for employees if they were
                       needing transition.

                 (5)   Plaintiff was offered severance pay contemporaneous to her termination that
                       was not required per policies of Defendant if she agreed to waive all
                       discrimination and retaliation claims against Defendant. This is clearly
                       admissible evidence of an attempt to conceal and quickly dispense with a
                       discrimination and retaliation claim, and additional evidence of pretext.2


2
 See Staffieri v. Northwestern Human Servs., 2013 U.S. Dist. LEXIS 72115 at **14-15 (E.D. Pa. 2013)(an employer
who offered severance at the time of termination when policies did not require upon condition of waiving claim
supported finding of pretext among other facts); Bartlett v. NIBCO Inc., 2011 U.S. Dist. LEXIS 28072 (N.D. Ind.


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                  (6) Plaintiff’s feigned job “elimination” happened to occur shortly after she was
                      escalating complaints of discrimination.

         20.      Plaintiff objected to discriminatory treatment by Rappaport, and she also escalated

concerns of discriminatory treatment to Rappaport’s management. Such concerns were in very

close temporal proximity (even weeks) in advance of Plaintiff’s abrupt termination.

         21.      Rappaport’s management, instead of undertaking any meaningful investigation or

remedial action, further suggested Plaintiff just consider resigning.

         22.      Plaintiff was encountering tremendous animosity and demeaning treatment from

Rappaport leading up to her termination from employment merely for exhibiting symptoms of

Anxiety or other health problems and relaying that the manner in which she communicated at times

or for other issues at work were affected by her health.

         23.      Plaintiff’s termination as outlined in this lawsuit violated the Americans with

Disabilities Act (“ADA”) and the Pennsylvania Human Relations Act (“PHRA”).

                                          COUNT I
                  Violations of the Americans with Disabilities Act “ADA”_
        ([1] Actual/Perceived/Record of Disability Discrimination; and [2] Retaliation)

         24.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




2011)(finding that a severance agreement offered contemporaneously to when the employee was terminated was
“probative on the issue of whether NIBCO's motive for terminating Bartlett was [false].”); EEOC v. Republic Servs.,
Inc., 640 F. Supp. 2d 1267 (D. Nev. 2009)(denying summary judgment and considering as evidence in wrongful
termination case that a company would offer severance when an employee is supposedly terminated in a manner that
doesn't warrant severance per an explicit company policy); Karl v. City of Mountlake Terrace, 2011 U.S. Dist. LEXIS
59085 (W.D. Wash. 2011)(severance agreements are admissible in retaliation claims when made contemporaneous to
termination, as they are not governed by Fed.R.Evid. 408); Brandy v. Maxim Healthcare Servs., Inc., 2012 WL
5268365, at *2 (N.D. Ind. 2012)(holding that severance agreements offered at the time of termination do not fall under
Rule 408 because they are offered before a dispute arises, regardless if the employer “anticipated the severance
agreement curtailing any potential future litigation.”).


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       25.      Plaintiff timely filed a Charge with the Equal Employment Opportunity

Commission (“EEOC”) and initiated this lawsuit within 90 days of receiving a notice of case

closure and/or right-to-sue letter.

       26.      Plaintiff was terminated because of [1] her actual and/or perceived disabilities; [2]

her record of impairment; and [3] her objections or concerns of discriminatory treatment.

       27.      These discriminatory and retaliatory actions as aforesaid constitute violations of the

ADA.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.       Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant's

illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement, and seniority.

       B.       Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;

       C.       Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress / pain and

suffering);

       D.       Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       E.       Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.




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                                           Respectfully submitted,

                                           KARPF, KARPF & CERUTTI, P.C.

                                    By:    _______________________
                                           Ari R. Karpf, Esq.
                                           3331 Street Road
                                           Two Greenwood Square, Suite 128
                                           Bensalem, PA 19020
                                           (215) 639-0801
Dated: September 7, 2021




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  VLTLOMON
                              Case 2:21-cv-03980-CDJ
                                                 UNITEDDocument   1 Filed
                                                       STATES DISTRICT    09/07/21 Page 9 of 10
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
        VLTLOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


        VLTLOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
                                                                                                            `e^oibp=ofsbo=i^_lo^qlofbp=fkqbok^qflk^iI=fk`KI
_^vboI=gl^kkb                                                                                               aL_L^=`e^oibp=ofsbo=i^_lo^qlofbp
    (b) County of Residence of First Listed Plaintiff                  jçåíÖçãÉêó                            County of Residence of First Listed Defendant jáÇÇäÉëÉñ
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                         (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                             of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒
                                     u    445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                              Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                              Other                    ❒ 550 Civil Rights                 Actions
                                     ❒    448 Education                ❒ 555 Prison Condition
                                                                       ❒ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
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VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION                                                DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                       JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                                                                               DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
             VLTLOMON
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                                 Save As...                                                                                                                   Reset
